











Opinion issued August 28, 2008
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;














In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00323-CV




IN RE EDWARD R. NEWSOME, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Edward R. Newsome, seeks relief
from a trial court judgment.  
&nbsp;
We deny the petition for writ of mandamus.  All pending motions are denied
as moot.
&nbsp;
Per Curiam
&nbsp;
Panel consists of Justices Nuchia, Jennings, and Bland.    


